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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )
                                                     )               4:03CR3085
                    Plaintiff,                       )
                                                     )               ORDER OF DISMISSAL
            v.                                       )
                                                     )
INDEPENDENT LIVING APARTMENTS, INC. and              )
STONY RIDGE DAY TREATMENT, INC., a/k/a               )
     Stoney Ridge Day Treatment and Wellness Clinic, )
     d/b/a Outpatient Therapy, Inc.                  )
                                                     )
                    Defendants.                      )

       This matter is before the Court on plaintiff’s motion for order of dismissal (Filing No. 228).
Pursuant thereto,

       IT IS ORDERED plaintiff’s motion is granted; all counts of the indictment are dismissed as
to Independent Living Apartments, Inc. and Stony Ridge Day Treatment, Inc.

       March 17, 2006.                        BY THE COURT:

                                              s/ Richard G. Kopf
                                              United States District Judge
